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Prob 12B

UNITED STATES DISTRICT COURT
DISTRICT OF NORTH DAKOTA

Request for Modifying the Conditions or Term of Supervision
with Consent of the Offender

(Probation Form 49, Waiver of Hearing is attached)
Offender Name: — Hjalmer Curtis Spotted Bear Docket No.: 4:05 CR 064
Name of Sentencing Judicial Officer: | The Honorable Daniel L. Hovland
Date of Original Sentence: February 3, 2006
Original Offense: Assault with a dangerous weapon 18 U.S.C. § 113(a)(3)

Original Sentence: Time served and 36 months supervised release

Type of Supervision: Enhanced Date Supervision Commenced: February 3, 2006
PETITIONING THE COURT
{} To Extend the term of supervision year(s), for a total term of years.

{X} To modify the conditions of supervision as follows:

The defendant agrees to enter a Residential Re-Entry Center (RRC), for a period to be determined by the Supervising
Probation Office. While at the RRC, he will complete the court imposed community service, complete a substance abuse
evaluation, mental heath/psychological evaluation, domestic violence evaluation, secure employment, education/GED and
complete other programming as directed by the supervising probation officer. The offender will participate fully in all
programming and abide by all rules and regulations of the Center. The offender shall not exit or withdraw from the RRC
without the permission of his supervising probation officer.

CAUSE

The defendant has not completed conditions of supervision previously ordered and should remain at Lake Region

LEC, unti] he has completed his GED.
EVA bmiffeg,
lo” .

“Paul A. Skurdall~ Date
U.S. Probation Officer

0B No Action
{} The Extension of Supervision as Noted Above
{¥ The Modification of Conditions as Noted Above

{} Other

4f E2407

Date

aniel L. Hovland
Chief United States District Judge

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PROB 49

Waiver of Hearing to Modify Conditions of Probation/
Supervised Release or Extend Term of Supervision

UNITED STATES DISTRICT COURT
For The
District of North Dakota

I, Hjalmer Curtis Spotted Bear, have been advised and understand that I am entitled by law to a
hearing and assistance of counsel before any unfavorable change may be made in my Conditions of
Probation and Supervised Release or my period of supervision being extended. By assistance of counsel,
I understand that I have the right to be represented at the hearing by counsel of my own choosing if I am able
to retain counsel. I also understand that I have the right to request the Court to appoint counsel to represent
me at such a hearing at no cost to myself if I am not able to retain counsel of my own choosing.

I hereby voluntarily waive my statutory right to a hearing and to assistance of counsel. | also agree
to the following modification of my Conditions of Probation and Supervised Release or to the proposed
extension of my term of supervision:

The defendant agrees to enter a Residential Re-Entry Center (RRC), for a period to be determined by the
Supervising Probation Office. While at the RRC, he will complete the court imposed community service,
complete a substance abuse evaluation, mental heath/psychological evaluation, domestic violence evaluation,
secure employment, education/GED and complete other programming as directed by the supervising
probation officer. The offender will participate fully in all programming and abide by all rules and
regulations of the Center. The offender shall not exit or withdraw from the RRC without the permission
of his supervising probation officer.

DATED: May 23, 2007

Witness: ( VA) A LL Signed: Hy 4G wr Spr thes Baal

Paul A. Skurdall
U.S. Probation Officer sun vised Releasee

